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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


  ENERGY INTELLIGENCE GROUP, INC.
  and ENERGY INTELLIGENCE GROUP
  (UK) LIMITED,

                  Plaintiffs,




   vs.                                                     Case No. 16-1015-EFM-GLR

  CHS McPHERSON REFINERY, INC.
  (F/K/A A NATIONAL COOPERATIVE
  REFINERY ASSOCIATION),

                  Defendant.




                                MEMORANDUM AND ORDER

         Plaintiffs Energy Intelligence Group, Inc., and Energy Intelligence Group (UK) Limited

(collectively “EIG”) have sued CHS McPherson Refinery, Inc. (“the Refinery”) for copyright

infringement. There are four motions pending before the Court. The Refinery has moved for

partial summary judgment (Doc. 52) seeking to limit EIG’s claims based on the three-year statute

of limitations and seeking to limit EIG’s request for statutory damages. In response to this motion,

EIG has filed a cross-motion for summary judgment (Doc. 67) regarding EIG’s statutory damages

request. In addition, EIG has moved for partial summary judgment (Doc. 100) seeking to dismiss

the Refinery’s affirmative defenses and has filed a Motion Challenging the Admissibility of Expert

Report and Testimony of William Rosenblatt (Doc. 86). For the reasons stated below, the Court
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denies the Refinery’s motion for partial summary judgment, grants EIG’s cross motion for

summary judgment, grants in part and denies in part EIG’s motion for partial summary judgment,

and grants EIG’s motion to exclude the expert testimony and report of Rosenblatt.

                          I.      Factual and Procedural Background

A.     EIG’s Publications and Copyright Registrations

       EIG sells subscriptions to many publications, two of which include Oil Daily and

Petroleum Intelligence Weekly. EIG sells at least three types of subscriptions to its publications:

(1) a single subscription; (2) multiple subscriptions; and (3) a Global Enterprise License, which

includes up to 15 publications and six databases. In addition to its subscriptions, EIG allows

readers to access individual articles or issues on a pay-per-view basis.

       Within EIG, account managers are required to make periodic calls on their assigned

accounts to, among other things, look for opportunities to increase the number of subscriptions an

individual or company might hold. Account managers are assigned to both large and small

accounts. One of EIG’s account managers who specializes in small accounts is Derrick Dent.

Dent managed the Refinery’s account with EIG beginning in 2009.

       Since 2006, Deborah Brown—an account services manager at EIG—has filed EIG’s

copyright applications with the U.S. Copyright Office. During that time, EIG registered Oil Daily

using Form G/DN. From 2006 to 2008, Brown checked the “Compilation” box in the “Author’s

Contribution” section of Form G/DN, as well as the “text” and “editing” boxes in the group

applications. In 2008, she stopped checking the “Compilation” box but continued checking the

“text” and “editing” boxes. From 2004 to 2016, EIG registered Petroleum Intelligence Weekly as

a collective work using Form SE/Group.




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B.     EIG’s Copyright Enforcement

       EIG began enforcing its copyrights and pursuing potential copyright infringement litigation

around 2005. At that time, EIG’s president, Tom Wallin, proposed copyright enforcement as a

potential revenue stream, comprised of both legal settlement and improved subscription revenues

due to better compliance by subscribers. In 2007, EIG ramped up its copyright enforcement tactics

by issuing copyright notices on its publications, implementing new procedures for monitoring and

enforcing its copyrights, and running “password abuse” reports designed to “pick out users with

the most suspicious behavior.” When EIG uncovered information indicating infringement by its

large clients, EIG believed that it should pursue remedies for that infringement, including

litigation. This aggressive approach was supported by EIG’s board of directors and ownership.

       In 2010, EIG hired John Hitchcock as managing director. On February 23, 2010, he

emailed his team a memorandum “which represented[ed] a ratcheting-up of [EIG’s] efforts to

thwart copyright abuse.” In the memorandum, EIG rolled out its bonus plan, calling upon the

“sales force and customer service representatives to act as another line of defense in identifying

incidents of unauthorized use among [its] customers.”        The plan required all documented

information of suspicious activity or direct evidence of unauthorized usage to be reported

immediately to Hitchcock.     Under these policies, if management determines that there are

ambiguous circumstances as to whether unauthorized copying occurred, the account representative

is instructed to contact the customer and ask them to confirm the scope of their usage of EIG’s

publications.

       If an EIG salesperson reports suspicious behavior to management and EIG initiates a

lawsuit based on such reporting, then EIG pays that salesperson $5,000. If the lawsuit leads to a

settlement or court-ordered award, EIG then pays the salesperson an additional $5,000. Since


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2005, EIG has vigilantly protected its copyrights and aggressively enforced them after discovering

overt evidence of infringement.

C.     The Refinery’s Subscription to Oil Daily and Petroleum Intelligence Weekly

       The Refinery purchased a subscription to Oil Daily beginning in 1992 and renewed it

annually until it allowed the subscription to expire on or around May 15, 2015. The Refinery

received Oil Daily by print delivery until 1999 when it elected to receive it electronically. EIG

directed its subscription renewals to Galen Menard, who was the Refinery’s Vice-President of

Supply & Trading. Refinery employee LeAnn Flickinger, who was Menard’s assistant, received

the publication through an email sent by EIG with the publication attached. Flickinger forwarded

the email with the attached publication to Menard and other Refinery employees daily.

       The Refinery first subscribed to Petroleum Intelligence Weekly in 1982 and renewed it

annually until it allowed the subscription to expire on or around June 13, 2016. The Refinery

received the publication by print delivery until approximately 2002 when EIG moved from print

delivery to electronic delivery. From 2005 to 2011, EIG directed its renewal subscriptions to

Refinery employee Kathy Swanson. Swanson served as an assistant to James Loving, who was

the Refinery’s president. Swanson downloaded issues of Petroleum Intelligence Weekly and

distributed it to multiple Refinery employees including Loving. When Swanson retired in June

2012, her responsibilities regarding the publication were assumed by Deborah Ratzloff.

       Both Oil Daily and Petroleum Intelligence Weekly contained copyright notices and

warnings. In addition, EIG included a copyright notice and warning on the weekly emails it sent

notifying the Refinery that a new issue was available.

D.     Communications between the Refinery and EIG

       On September 25, 2007, Menard sent an email to Loving, which stated:


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          The Oil Daily is produced by the same company as Energy [sic] Intelligence
          Weekly. Please note the copyright pronouncement below for the Energy
          Intelligence Group.

          We will need to discontinue the e-mailing of the Oil Daily until a decision is made
          as to our subscription and the cost of retaining service to the list that currently
          receives the publication.

Five months later, on February 26, 2008, Flickinger emailed 11 Refinery employees, including

Menard and Loving, stating: “I will no longer be forwarding the Energy Oil Daily report out every

morning due to Energy Oil Daily’s copyright policy.” That same day, in response to an inquiry

from a Refinery employee about Oil Daily’s ongoing availability, Menard told the employee that

he was going to attempt to negotiate with EIG regarding a group discount and that he would make

sure copies were available until the situation was resolved.

          The following day, on February 27, Menard emailed EIG Customer Service indicating that

he would like to discuss the costs associated with adding up to 10 users within the Refinery for Oil

Daily. EIG responded with a pricing schedule that indicated that five users would cost $7,863.00

annually and that 10 users would cost $14,708 annually. Menard then notified the Refinery

employees of the quoted prices and stated that he was reluctant to increase the Refinery’s

subscription because the prices were “highway robbery.” Menard further stated that he would

continue to negotiate with EIG for better rates but that EIG did not seem interested in lowering its

prices.

          Menard followed up with EIG on April 2, and again on April 3, requesting pricing for two

or three additional users. On April 17, the Refinery received a renewal notice from EIG for its

subscription to Oil Daily. The Refinery renewed that subscription on May 12.

          Almost four years later, on the morning of March 27, 2012, Flickinger forwarded Oil Daily

to Menard and three other Refinery employees. Later that day, she spoke with EIG account


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manager Derrick Dent about the Refinery’s subscription to Oil Daily. After their conversation, she

sent Dent the following email:

       As per our phone conversation, the Energy [sic] Oil Daily is forwarded to Galen
       Menard by me and if he is out it is forwarded to one of the other executives. I get
       the email since Galen is out of the office on occasions and then someone else in the
       Executive office can see the information.

Pursuant to EIG’s copyright infringement policy, Dent reported this information to Hitchcock.

Two days later, on March 29, the Refinery renewed its Oil Daily subscription. The next day, Dent

sent the following email:

       Thank you for your recent renewal to Oil Daily. You are one of your [sic] valued
       subscribers and we appreciate your business. This is just a gentle reminder to
       inform you that our publications are licensed for use by the named authorized user
       as provided in the license (subscription) agreement for their sole use and are priced
       accordingly. All single user subscriptions such as yours are intended solely for the
       designated named recipient and not anyone else or any entire organization or group
       within it. A single user subscription cannot be shared by electronic means among
       multiple readers by forwarding or posting on an intranet, or by sharing of a log-in
       name and password. If access is required by other beyond the current subscription
       agreement, a multiple named user subscription could be purchased.

No further action was taken by Dent or EIG. The Refinery did not stop forwarding Oil Daily or

Petroleum Intelligence Weekly after receiving this email until June 2015.

       Three years later, on or about March 27, 2015, Dent contacted Menard for a routine sales

call. During that call, Menard informed Dent that Flickinger distributed Oil Daily to himself and

Loving. Dent contacted Menard after the two had spoken stating:

       I would like to make clear that the terms of our subscription agreement with [the
       Refinery] for the Oil Daily publication do not permit the kind of usage you
       described during our phone call. Electronic forwarding of the publication creates
       copies that violate the terms of the subscription agreement and our copyrights in
       the publication.

Nonetheless, Dent offered to discuss a license that would “be in keeping with the usage [the

Refinery] is making of Oil Daily.”


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       Menard responded on March 31, apologizing for the misunderstanding and requesting a

quote for additional users. Dent did not respond to Menard’s email. After conferring with counsel,

EIG began to treat the Refinery’s use of Oil Daily as a copyright infringement matter. On or about

November 10, 2015, EIG pitched its “Global Enterprise License” to the Refinery.

E.     EIG Files Suit against the Refinery

       EIG filed this lawsuit against the Refinery on January 18, 2016, and filed an Amended

Complaint on August 16. EIG claims that the Refinery engaged in copyright infringement by

allegedly copying Oil Daily and Petroleum Intelligence Weekly and distributing copies of these

publications to multiple Refinery employees in violation of the subscription agreements. The

Refinery disputes these allegations and contends that EIG’s claims are limited or barred by the

following affirmative defenses: (1) the three year statute of limitations set forth in 17 U.S.C. §

507(b); (2) EIG’s failure to mitigate damages; (3) the doctrine of copyright misuse; (4) the doctrine

of implied license; (5) EIG has an adequate remedy at law; (6) EIG’s claims fail to state a claim

upon which relief may be granted; and (7) EIG’s claims for statutory damages violate the due

process requirements of the Fourteenth Amendment and/or Fifth Amendment.

       On July 17, 2017, the Refinery filed a motion for referral to the Register of Copyrights and

a concurrent stay on the grounds that EIG knowingly included inaccurate information in its

copyright applications for Oil Daily that, if known at the time of registration, would have caused

the Register of Copyrights to refuse registration. The Court denied the Refinery’s motion in a

Memorandum and Order dated January 17, 2018. It concluded that the Refinery did not meet its

burden to show that EIG included inaccurate information in its copyright applications or that even

if EIG did include inaccurate information, it did not do so with knowledge that it was inaccurate.




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        The Refinery has now moved for partial summary judgment seeking to limit EIG’s claim

based on the statute of limitations and its statutory damages request based on the number of

registrations obtained versus the number of publications the Refinery received. In response, EIG

filed a cross motion for summary judgment on the statutory damages issue. In addition, EIG has

filed a motion for partial summary judgment on the Refinery’s affirmative defenses two through

seven listed above and a motion challenging the admissibility of the report and testimony of

Rosenblatt—the Refinery’s designated expert. All of these motions are ripe for the Court’s

consideration.

                                                  II.   Legal Standard

        Summary judgment is appropriate if the moving party demonstrates that there is no genuine

issue as to any material fact, and the movant is entitled to judgment as a matter of law.1 A fact is

“material” when it is essential to the claim, and issues of fact are “genuine” if the proffered

evidence permits a reasonable jury to decide the issue in either party’s favor.2 The movant bears

the initial burden of proof and must show the lack of evidence on an essential element of the claim.3

If the movant carries its initial burden, the nonmovant may not simply rest on its pleading but must

instead “set forth specific facts” that would be admissible in evidence in the event of trial from

which a rational trier of fact could find for the nonmovant.4 These facts must be clearly identified

through affidavits, deposition transcripts, or incorporated exhibits—conclusory allegations alone



        1
            Fed. R. Civ. P. 56(a).
        2
            Haynes v. Level 3 Commc’ns, LLC, 456 F.3d 1215, 1219 (10th Cir. 2006).
        3
          Thom v. Bristol-Myers Squibb Co., 353 F.3d 848, 851 (10th Cir. 2003) (citing Celotex Corp. v. Catrett, 477
U.S. 317, 322-23, 325 (1986)).
        4
            Id. (citing Fed. R. Civ. P. 56(e)).



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cannot survive a motion for summary judgment.5 The Court views all evidence and reasonable

inferences in the light most favorable to the party opposing summary judgment.6

        Though the parties in this case filed cross-motions for summary judgment, the legal

standard remains the same.7 Each party retains the burden of establishing the lack of a genuine

issue of material fact and entitlement to judgment as a matter of law.8 Each motion will be

considered separately.9 To the extent the cross-motions overlap, however, the court may address

the legal arguments together.10

                                                 III.     Analysis

A.    The Refinery’s Motion for Partial Summary Judgment (Doc. 52) and EIG’s Cross
Motion for Summary Judgment (Doc. 67)

        The Refinery seeks partial summary judgment on two grounds. First, the Refinery seeks

summary judgment on EIG’s copyright infringement claims occurring before January 18, 2013,

arguing that these claims are barred by the statute of limitations. Second, the Refinery seeks

summary judgment on EIG’s claim that if it is liable for copyright infringement it is entitled to

statutory damages for each individual publication infringed from 2004 to 2016. EIG has filed a

cross motion for summary judgment on the statutory damages issue.




        5
          Mitchell v. City of Moore, 218 F.3d 1190, 1197 (10th Cir. 2000) (citing Adler v. Wal-Mart Stores, Inc., 144
F.3d 664, 671 (10th Cir. 1998)).
        6
            LifeWise Master Funding v. Telebank, 374 F.3d 917, 927 (10th Cir. 2004).
        7
            City of Shawnee v. Argonaut Ins. Co., 546 F. Supp. 2d 1163, 1172 (D. Kan. 2008) (citation omitted).
        8
         United Wats, Inc. v. Cincinnati Ins. Co., 971 F. Supp. 1375, 1382 (D. Kan. 1997) (citing Houghton v.
Foremost Fin. Servs. Corp., 724 F.2d 112, 114 (10th Cir. 1983)).
        9
            Atl. Richfield Co. v. Farm Credit Bank of Wichita, 226 F.3d 1138, 1148 (10th Cir. 2000).
        10
             Berges v. Standard Ins. Co., 704 F. Supp. 2d 1149, 1155 (D. Kan. 2010).



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        1.          Statute of Limitations

        A claim for copyright infringement must be brought “within three years after the claim

accrued.”11 The Tenth Circuit has long applied the discovery rule of accrual in the copyright

context, meaning that the claim accrues when the copyright owner has “knowledge of a violation

or is chargeable with such knowledge.”12 The Supreme Court, however, recently discussed the

limitations period in Petrella v. Metro-Goldwyn-Mayer, Inc., in an opinion holding that the

equitable defense of laches does not apply to claims for copyright infringement brought within the

statute of limitations.13 In discussing the applicable statute of limitations, the Supreme Court

applied the incident of injury rule, meaning that the claim accrues when the infringement occurs.14

The Supreme Court acknowledged that a majority of circuits use the discovery rule and noted that

the Court has “not passed on the question,” but proceeded to analyze the case under the incident

of injury rule.15

        Since Petrella, district courts have wrestled with its implication on the use of the discovery

rule in copyright infringement cases. Many of the district courts who have examined Petrella have

concluded that the Supreme Court did not intend to abrogate the discovery rule in that case.16




        11
             17 U.S.C. § 507(b).
        12
          Diversey v. Schmidley, 738 F.3d 1196, 1200 (10th Cir. 2013) (quoting Roley v. New World Pictures, Ltd.,
19 F.3d 479, 481 (9th Cir. 1994)).
        13
             Petrella v. Metro-Goldwyn-Mayer, Inc., 134 S. Ct. 1962, 1969 (2014).
        14
             Id.
        15
             Id. n.4.
        16
           See, e.g., Design Basics, LLC v. Windsor Homes, Inc., 2017 WL 1836893, at *2-3 (N.D. Ind. 2017); Energy
Intelligence Group, Inc. v. Scotia Capital (USA) Inc., 2017 WL 432805, at *1-2 (S.D.N.Y. 2017); Cooley v. Penguin
Grp. (USA), Inc., 31 F. Supp. 3d 599, 611 n.76 (S.D.N.Y. 2014).



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Furthermore, in a subsequent case, SCA Hygiene Prods. Aktiebolag v. First Quality Baby Prods.,17

the Supreme Court made the following statement regarding Petrella:

         While some claims are subject to a discovery rule under which the limitations
         period begins when the plaintiff discovers or should have discovered the injury
         giving rise to the claim, that is not a universal feature of statutes of limitations. . . .
         And in Petrella, we specifically noted that we have not passed on the question
         whether the Copyright Act's statute of limitations is governed by such a rule.18

This statement appears to confirm that the Supreme Court has not determined whether the

discovery rule or the incident of injury rule applies when calculating the statute of limitations in a

copyright infringement case. Neither party in this case has addressed Petrella or its applicability.

Because this Court is bound to apply Tenth Circuit law, it will apply the discovery rule in this case.

          A copyright infringement claim accrues when the copyright owner has actual knowledge

or constructive knowledge of the infringement.19 It is easy to determine the limitations period

when a copyright owner has actual knowledge. Accrual begins with the acquisition of that

knowledge and is determined based on the passage of time. 20 But, in the absence of actual

knowledge, the question becomes “when a reasonably prudent person in the plaintiff’s shoes would

have discovered (that is, would have acquired an awareness of) the putative infringement.”21 The

defendant bears the burden of proof in this “fact-intensive inquiry.”22


         17
            137 S. Ct. 954 (2017). SCA Hygiene presented a similar question to Petrella—whether the equitable
defense of laches brought within a statute of limitations period is valid, but in the context of the Patent Act. Id. at 959.
         18
              Id. (citations omitted).
          19
             See Diversey, 738 F.3d at 1200 (stating that a claim accrues when the copyright owner has knowledge of
a violation or is chargeable with such knowledge).
         20
              Warren Freedenfeld Assocs. v. McTigue, 531 F.3d 38, 44 (1st Cir. 2008).
         21
           Beidleman v. Random House, Inc., 621 F. Supp. 2d 1130, 1134 (D. Colo. 2008) (quoting Warren Freefield
Assocs., 531 F.3d at 44).
         22
              Id.



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       EIG filed its Complaint on January 18, 2016. The Refinery argues that EIG cannot recover

damages for any act of infringement three years before this date, i.e. January 18, 2013, because

EIG knew or should have known of the Refinery’s alleged infringement at least as early as 2008

and at the latest in 2012. According to the Refinery, EIG had constructive knowledge that it was

forwarding Oil Daily in 2008 and it had actual knowledge that it was forwarding the publication

in 2012. The Refinery also asserts that EIG had constructive notice that the Refinery was

forwarding Petroleum Intelligence Weekly at least as early as 2012.

               a.      EIG’s Knowledge of the Refinery’s Use of Oil Daily in 2008

       The Refinery argues that when EIG received an email from Menard in 2008 asking how

much it would cost to increase his subscription by ten, EIG, acting as a reasonably diligent plaintiff

under the circumstances, should have investigated the Refinery’s use of Oil Daily. The Refinery

seeks to hold EIG to a higher standard of care than a reasonably prudent person. The Refinery

contends that EIG has specialized knowledge about what constitutes copyright infringement due

to its enforcement efforts that it established in 2005 and that it must exercise “a quantum of care

which is commensurate with the circumstances.” Thus, the Refinery argues that EIG, as a

company with specialized knowledge of copyright infringement, failed to act reasonably and

diligently when it did not investigate Menard’s request to increase the Refinery’s subscription.

The Court disagrees.

       First, the Court declines to impose a more stringent standard other than that of a reasonably

prudent person. The Refinery has cited no case law in the copyright context indicating that EIG

should be held to have “special knowledge” about copyright infringement because of its

enforcement policies. The cases the Refinery relies on involve negligence during a skiing accident




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and an illness contracted while manufacturing airplane instruments, not copyright infringement.23

If the Court were to apply this standard it would contravene well-established law regarding the

discovery rule.

        With regard to EIG’s knowledge in 2008, a reasonable fact-finder could conclude that

Menard’s email in 2008 was not sufficient to trigger a duty to investigate further. A customer’s

inquiry into increasing the number of subscriptions does not in and of itself provide a basis for

constructive knowledge of infringement.24 While Menard’s request may have been motivated by

his knowledge that the Refinery was forwarding Oil Daily beyond what was allowed in the

subscription agreement, this knowledge is not imputed to EIG simply from an email exchange

asking to increase subscriptions. Furthermore, even if Menard’s email triggered an investigation

by EIG, it is not likely that EIG would have discovered that the Refinery was forwarding Oil Daily

to employees beyond Menard. EIG had no access to the Refinery’s email system or computer

network. The only way EIG could have learned of the infringement would be if the Refinery told

it that it was copying and distributing Oil Daily to multiple employees. Thus, based on the

evidence before the Court, a reasonable fact-finder could conclude that a reasonably prudent

person in EIG’s shoes would not have discovered the Refinery’s infringement in 2008.




        23
           LaVine v. Clear Creek Skiing Corp., 557 F.2d 730, 734 (10th Cir. 1977); Johnston v. United States, 568 F.
Supp. 351, 354 (D. Kan. 1983).
        24
            Cf. Energy Intelligence Grp., Inc. v. Jefferies, LLC, 101 F. Supp. 3d 332, 342 (S.D.N.Y. 2015) (holding
that allegations of a customer’s comments regarding the company’s need for additional subscriptions and the
company’s subsequent reduction of the number of licenses was not sufficient to sustain a claim for copyright
infringement).



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               b.      EIG’s Knowledge of the Refinery’s Use of Oil Daily in 2012

       In the alternative, the Refinery contends that EIG had actual or at least constructive

knowledge of the Refinery’s alleged infringement in March 2012 when Flickinger emailed Dent

telling him that she received Oil Daily through her email account, that she forwarded the

publication to Menard daily, and on occasion, when Menard was gone, she forwarded it to another

Refinery executive. The Refinery claims that there are several critical facts that weigh in favor of

granting summary judgment, including (1) Dent’s reporting of Flickinger’s March 27, 2012, email

to EIG’s in-house counsel under EIG’s copyright enforcement policy; (2) Dent’s email to

Flickinger reiterating the terms of the Refinery’s subscription and warning her that electronic

forwarding of the publication violates the subscription agreement; and (3) Dent’s testimony that

EIG was placed on a potential litigation hold list in 2012.

       EIG argues in response that there is a genuine issue of material fact regarding whether it

had actual or constructive knowledge in 2012. In response to Flickinger’s email regarding her

forwarding practices of Oil Daily, EIG offers evidence of its long-standing policy that access by

assistants for the purpose of sending a publication to a supervisor is not an unauthorized use. EIG

argues that practically speaking, it is not concerned with the number of readers of a single copy of

a given subscription, but the number of copies made. It also cites its policy that a printed copy of

a publication may be placed in a library and read by multiple individuals. Accordingly, EIG claims

Flickinger’s practice of forwarding Oil Daily to Menard did not violate the subscription

agreements. EIG also claims that Flickinger’s practice of forwarding Oil Daily to another

executive when Menard is absent conforms with the Refinery’s subscription because on those

days, only one subscribed copy would have been used by the Refinery—the copy that went to

Menard simply went to another executive.


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        EIG also offers the declaration of Thomas Wallin, EIG’s Executive Vice President and

Editor-In-Chief. Wallin explained that under EIG’s policy, customer service employees are

instructed to report any suspicious circumstance regarding a customer’s unauthorized use of a

publication. If the circumstances indicate unauthorized copying, the sales director will report them

to senior management who will decide what steps to be taken. If the circumstances are ambiguous,

the account representative is required to contact the customer and ask them to confirm their scope

of usage. If the customer confirms that they are using EIG’s publication in an authorized manner,

and there is no further evidence, then EIG concludes its investigation. Here, because Dent’s

inquiry to Flickinger showed nothing more than the fact that she normally emailed Oil Daily to

Menard, this concluded EIG’s investigation of the matter.

        EIG also points out that although Dent testified that the Refinery was placed on a potential

litigation list, Dent also testified that he was not aware whether the Refinery was placed on that

list in 2012 or in 2015. Furthermore, Hitchcock stated in his declaration that no Potential Litigation

Hold Notice involving the Refinery existed before 2015.

        Based on this evidence, the Court cannot conclude as a matter of law that EIG had actual

or constructive notice of the Refinery’s alleged infringement in 2012.                     “Generally, the

reasonableness of [the] plaintiffs’ actions, including the reasonableness of inquiring or failing to

inquire, is a fact question for the jury.”25 Flickinger’s email stated that she forwarded Oil Daily to

Menard daily and when he was absent she forwarded it to another Refinery executive. EIG claims

that based on its policies this conduct was not infringing and thus it had no reason to know of the




        25
           Energy Intelligence Grp., Inc. v. Kayne Anderson Capital Advisors, LP, 2016 WL 1203763, at *7 (S.D.
Tex. 2016) (quoting Dodson v. Hillcrest Sec. Corp., 1996 WL 459770, *8 (5th Cir. 1996)).



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Refinery’s alleged infringement. But, when Dent emailed Flickinger two days later, he informed

her that the publication is only licensed for use by “the designated named recipient and not anyone

else or any entire organization” and that the subscription could not be shared electronically by

forwarding. Thus, there is a genuine issue of material fact as to whether EIG knew or had reason

to know that infringement was occurring in March 2012. The Court denies summary judgment on

this issue as to the Refinery’s alleged infringement of Oil Daily.

               c.     EIG’s Knowledge regarding the Refinery’s Use of Petroleum Intelligence
               Weekly

       Finally, the Refinery argues that EIG had constructive knowledge of the Refinery’s alleged

infringement of Petroleum Intelligence Weekly based on Flickinger’s March 27, 2012, email to

Dent. But, Flickinger’s email is silent regarding Petroleum Intelligence Weekly, and throughout

its relationship with EIG, different Refinery employees accessed the publications. Moreover, as

discussed above, the Court could not conclude as a matter of law that EIG had actual or

constructive knowledge of Oil Daily based on Flickinger’s email, and thus this lack of evidence

cannot be used to impute knowledge on EIG regarding Petroleum Intelligence Weekly. Based on

the summary judgment evidence, there is genuine issue of material fact as to whether EIG knew

or had reason to know that the Refinery was infringing Petroleum Intelligence Weekly in 2012.

       2.      Statutory Damages

       EIG seeks an award of statutory damages for the Refinery’s alleged infringement of Oil

Daily and Petroleum Intelligence Weekly. EIG contends that each issue of Oil Daily and Petroleum

Intelligence Weekly is eligible for its own statutory damages award, while the Refinery contends

that EIG’s statutory damages should be limited to the number of copyright registrations. Both

parties seek summary judgment on the issue.



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        Under the Copyright Act, a copyright owner may select statutory damages for “all

infringements involved in the action, with respect to any one work.”26 “All the parts of a

compilation or derivative work constitute one work.”27 The Copyright Act defines a “compilation”

as “a work formed by the collection and assembling of preexisting materials or of data that are

selected, coordinated, or arranged in such a way that the resulting work as a whole constitutes an

original work of authorship.”28

        The U.S. Courts of Appeals are split in determining what constitutes a “compilation” or

“one work” for purposes of statutory damages. The Second and Fourth Circuits follow a strict

“registration determinative” test which more strictly follows the language of the statute.29 Under

this test, only one statutory damages award is available per compilation.30 The First, Ninth,

Eleventh, and D.C. Circuits employ a “separate economic value test,” which allows a plaintiff to

receive multiple statutory damages awards if part of the compilation copied “has an independent

economic value and is, in itself, viable.”31 The Tenth Circuit has not addressed this issue.

        The Refinery contends that EIG’s damages should be limited under either test. Relying on

the registration-determinative test, the Refinery argues that EIG’s use of monthly group



        26
             17 U.S.C. § 504(c)(1) (emphasis added).
        27
             Id.
        28
             17 U.S.C. § 101.
        29
           Bryant v. Media Right Prods., Inc., 603 F.3d 135, 142 (2nd Cir. 2010); Xoom, Inc. v. Imageline, Inc., 323
F.3d 279, 285 (4th Cir. 2003), abrogated on other grounds, Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154 (2010).
        30
             Bryant, 603 F.3d at 140; Xoom, 323 F.3d at 285 n.8.
        31
           Columbia Pictures Television v. Krypton Broad., 106 F.3d 284, 295 (9th Cir. 1997) rev’d on other grounds,
Feltner v. Columbia Pictures Television, 523 U.S. 340 (1998); Gamma Audio & Video, Inc. v. Ean-Chea, 11 F.3d
1106, 1117 (1st Cir. 1993); MCA Television Ltd. v. Feltner, 89 F.3d 766, 769 (11th Cir. 1996); Walt Disney Co. v.
Powell, 897 F.2d 565, 569 (D.C. Cir. 1990).



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registration procedures established by the Copyright Office for Oil Daily and Petroleum

Intelligence Weekly renders the collection of each month’s issues of each publication a

“compilation” that is only eligible for one statutory damages award.                         And relying on the

independent economic value test, the Refinery contends that individual issues of Oil Daily and

Petroleum Intelligence Weekly have no “independent economic value” apart from the subscriptions

EIG sells for those publications. Neither test, however, supports the Refinery’s argument in this

case.

         EIG registers its daily issues of Oil Daily and weekly issues of Petroleum Intelligence

Weekly using the group registration procedures established by the Copyright Office. Group

registration allows a copyright claimant to register multiple works, such as daily newspapers or

weekly periodicals, using a single application and single filing fee. EIG’s group registration of

Oil Daily is pursuant to 37 C.F.R. § 202.3(b)(9), which requires, in part, that “[t]he works must be

essentially all new collective works or all new issues that have not been published before” and that

all of the issues “bear issue dates within a single calendar month under the same continuing title.”32

Since at least 2004, EIG has registered Oil Daily as “daily newsletters” by filing monthly

applications using Form G/DN, each of which includes all issues of Oil Daily published during

that month. Each issue of Oil Daily is a collective work33 consisting of articles created,34 selected,




         32
              37 C.F.R. § 202.3(b)(9)(i) and (v).
         33
            A “collective work” is “a work, such as a periodical issue, anthology, or encyclopedia, in which a number
of contributions, constituting separate and independent works in themselves, are assembled into a collective whole.”
17 U.S.C. § 101.
         34
          Based on the Courts’ Memorandum and Order denying Motion Referral to the Register of Copyrights and
Concurrent Stay (Doc. 116), the Court recognizes that Oil Daily also contains articles licenses from Reuters. This does
not change Oil Daily’s status as a collective work.



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and arranged by EIG. Until 2008, EIG marked the “compilation” box when asked to describe the

author’s contribution in the works covered by the application.

        EIG’s group registration of Petroleum Intelligence Weekly is pursuant to 37 C.F.R.

§ 202.3(b)(6), which allows for a single registration for a group of serials, a type of collective

work, published at intervals of a week or longer. Since at least 2004, EIG has registered Petroleum

Intelligence Weekly by filing monthly applications using Form SE/Group, each of which includes

all issues of Petroleum Intelligence Weekly published that month. Each issue of Petroleum

Intelligence Weekly is a collective work consisting of separate and independent articles created,

selected, and arranged by EIG.

        The Refinery’s arguments fail because they confuse group registration with compilation

formation. Under the Refinery’s theories, each collection of issues is a compilation simply because

EIG placed them together for group registration. But this is not the case. “Authorship of work

involves creation, not mere accumulation.”35 A compilation is the product of arranging pre-

existing materials or data to create an original work.36 While each individual issue of Oil Daily or

Petroleum Intelligence Weekly may be a compilation, EIG’s group registrations are not. EIG only

bundled Oil Daily and Petroleum Intelligence Weekly into monthly collections for group

registration purposes. There is no evidence that EIG sold these monthly collections to customers

as one work. Furthermore, the U.S. Copyright Office has made clear that “[c]opyright owners who

use a group registration option may be entitled to claim a separate award of statutory damages for

each work—or each issue in the case of serials, newspapers, or newsletters—that is covered by the


        35
           Energy Intelligence Group, Inc. v. Kayne Anderson Capital Advisors, LP, 2017 WL 363004, at *3 (S.D.
Tex. 2017).
        36
             Id.



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registration, because group registration covers each work or each issue that is submitted for

registration (rather than the group as a whole).”37 Accordingly, each issue of Oil Daily and

Petroleum Intelligence Weekly is entitled to a separate statutory damages award if EIG prevails on

its copyright infringement claim. The Court denies the Refinery’s motion for partial summary

judgment on this issue and grants EIG’s cross motion for partial summary judgment on this issue.

       3.         Conclusion

       The Court denies the Refinery’s Motion for Partial Summary Judgment (Doc. 52). There

are genuine issues of material fact regarding EIG’s knowledge of the Refinery’s alleged

infringement. Therefore, the Court cannot conclude as a matter of law that EIG’s damages must

be limited to the three-year period before EIG filed its Complaint. In addition, the Court denies

the Refinery’s request to limit EIG’s statutory damages based on the number of registrations rather

than the number of publications. The group registration procedures utilized by EIG did not

transform the monthly collections of Oil Daily and Petroleum Intelligence Weekly that EIG

provided with its applications into compilations.                If the Refinery is liable for copyright

infringement, EIG is entitled to a separate award for each individual issue of Oil Daily and

Petroleum Intelligence Weekly. Accordingly, the Court grants EIG’s Cross Motion for Partial

Summary Judgment (Doc. 67).

B.     EIG’s Motion for Partial Summary Judgment (Doc. 100).

        The Refinery has asserted the following affirmative defenses: (1) failure to mitigate

damages; (2) the doctrine of copyright misuse; (3) the doctrine of implied license; (4) EIG has an

adequate remedy at law; (5) EIG’s claims fail to state a claim upon which relief may be granted;


       37
            U.S. Copyright Office, Compendium of U.S. Copyright Office Practices, § 1104.5 (3d ed. rev. 2017).



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and (6) EIG’s claims for statutory damages violate the due process requirements of the Fourteenth

Amendment and/or Fifth Amendment. EIG has moved for partial summary judgment on each of

these defenses arguing that they are not supported by the factual record or that they fail as a matter

of law.

          1.         Failure to Mitigate Damages

          The Refinery asserts the affirmative defense of failure to mitigate damages. EIG contends

that this affirmative defense must be dismissed as a matter of law because EIG has elected to

pursue statutory damages. The Court agrees.

          Section 504(c) of the Copyright Act allows a copyright owner to elect an award of statutory

damages in lieu of actual damages and profits.38 In the Tenth Circuit, a failure to mitigate defense

does not apply to an award of statutory damages.39 Although neither the Tenth Circuit nor this

District has applied this rule in the copyright context, the District of Colorado has concluded

multiple times that the election of a statutory damages by a plaintiff in a copyright infringement

suit invalidates the affirmative defense of failure to mitigate.40

               The Refinery claims that mitigation of damages is an element that must be considered

because it bears directly on the amount of statutory damages a jury might award within the

statutory range. According to the Refinery, one of the factors that the Court must look at when




          38
               17 U.S.C. § 504(c).
          39
               Moothart v. Bell, 21 F.3d 1499, 1506-07 (10th Cir. 1994).
          40
           See, e.g., Purzel Video GmbH v. Smoak, 11 F. Supp. 3d 1020, 1031 (D. Colo. 2014); (“Because Plaintiff
has elected statutory damages in this case, Defendant Smoak’s failure-to-mitigate defense should be stricken.”);
Malibu Media, LLC, v. Ryder, 2013 WL 4757266, at *3 (D. Colo. 2013); Malibu Media, LLC v. Batz, 2013 WL
2120412, at *3 (D. Colo. 2013).



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determining the amount of statutory damages is the “conduct and attitude of the parties”41 and

thus, EIG’s conduct and attitude toward the Refinery throughout the parties’ relationship are

relevant in determining a “just” statutory damages calculation.

         The Refinery’s argument is not persuasive. The Refinery relies on an outdated, out-of-

Circuit case to support its theory that the plaintiff’s conduct is relevant in determining a statutory

damages award.42 In this District, a plaintiff’s actions have no effect on the determination of a

statutory damage award. When calculating statutory damages, the jury weighs (1) the expenses

and profits the defendant gained by infringement; (2) the plaintiff’s lost revenue; and (3) whether

the infringement was willful.43 Thus, a plaintiff’s failure to mitigate damages is not relevant to a

statutory damages award calculation. The Court grants EIG’s motion for summary judgment on

this affirmative defense.

         2.       Copyright Misuse




         41
            Nat’l Football League v. PrimeTime 24 Joint Venture, 131 F. Supp. 2d 458, 473-74 (S.D.N.Y. 2001)
(citations omitted).
          42
             The Refinery relies primarily on National Football League in arguing that a court must consider the
conduct and attitude of both parties in calculating statutory damages. In that case, the District Court for the Southern
District of New York quoted the following passage from Patry on Copyright:

         In awarding statutory damages, the courts may consider, among other factors, the expenses saved
         and the profits earned by the defendant, the revenues lost by the plaintiff, the deterrent effect on the
         defendant and third parties, the defendant's cooperation in providing evidence concerning the value
         of the infringing material, and the conduct and attitude of the parties.

Id. at 473-74 (citation omitted) (emphasis added). The current version of the treatise, however, has removed “the
conduct and attitude of the parties” as one of the factors for a court to consider when determining the amount of a
statutory damages award. 6 William F. Patry, Patry on Copyright § 22:174. Instead it focuses on the defendant’s
conduct rather than the plaintiff’s conduct. Id.
         43
           Beginner Music v. Tallgrass Broad., LLC, 2009 WL 2475186, at *3 (D. Kan. 2009); Big Tree Enters., Ltd.
v. Mabrey, 1994 WL 191996, at *7 (D. Kan. 1994) (citing Jasperilla Music Co., M.C.A., Inc. v. Wing’s Lounge Ass’n,
837 F. Supp. 159, 161 (S.D. W. Va. 1993)).



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        Copyright misuse forbids the use of a copyright “to secure an exclusive right or limited

monopoly not granted by the copyright office and is contrary to public policy to grant.”44 The

defense is an absolute bar to a plaintiff’s recovery.45 To prevail on this defense, the Refinery must

prove either: (1) that EIG violated antitrust laws; or (2) that EIG illegally extended its monopoly

beyond the scope of the copyright or violated the public policies underlying copyright laws.46 EIG

contends that it is entitled to summary judgment because the Refinery has not met its burden of

proof under either of these tests.

        In response, the Refinery argues that EIG cannot prevail as a matter of law because a

reasonable jury could find that EIG has used “its abusive litigation tactics to extend its monopoly

to minimally-protected composite works beyond that granted by the Copyright Office.” According

to the Refinery, courts have found copyright misuse in cases where a copyright owner uses an

infringement suit to protect property not protected by copyright law in the hopes of forcing a

settlement or achieving an outright victory.47 Courts have labeled this type of conduct an “abuse

of process.”48 The Refinery argues that EIG has engaged in abuse of process through its actions

of filing multiple copyright infringement lawsuits against its clients, paying its employees bonuses

for finding and reporting potential copyright infringement claims, engaging in efforts to “entrap”




        44
             Malibu Media, LLC v. Cuddy, 2015 WL 1280783, at *8 (D. Colo. 2015) (citations omitted).
        45
             Lasercomb Am., Inc. v. Reynolds, 911 F.2d 970, 979 (4th Cir. 1990).
        46
             In re Indep. Serv. Orgs. Antitrust Litig., 85 F. Supp. 2d 1130, 1175-76 (D. Kan. 2000) (citations omitted).
        47
          See AF Holdings, LLC v. Olivas, 2013 WL 4456643, at *3 (D. Conn. 2013) (quoting Assessment of Techs.
of WI, LLC v. WIREdata, Inc., 350 F.3d 640, 647 (7th Cir. 2003)).
        48
             Id..



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its largest clients into admitting that they are engaging in copyright infringement, and by pushing

the Refinery into purchasing a costly Global Enterprise License to avoid this lawsuit.

         The Court is not persuaded by the Refinery’s arguments. The cases the Refinery relies on

are distinguishable from this case because the copyright owner in those cases attempted to assert

rights beyond those granted in their copyright registration.49 For example, in Design Basics, LLC

v. Petros Homes, LLC,50 the district court denied summary judgment on the defendant’s copyright

misuse defense because the defendant alleged that the plaintiff’s design plans contained many

standard elements not protected by the plaintiff’s copyrights and because of other evidence

showing that the defendant engaged in a business “model” to incentivize employees to find alleged

infringers, sue those infringers, and force settlements on those claims.51                       Similarly, in Home

Design Services v. Park Square Enterprises, Inc.,52 the defendant claimed that the plaintiff’s work

was largely generic in nature and thus not protectable by copyright.53 In analyzing the copyright

misuse defense, the district court stated that it would determine whether the plaintiff engaged in

copyright misuse after it determined whether the plaintiff’s works were generic.54

         In this case, there is no evidence that Oil Daily or Petroleum Intelligence Weekly are not

protected by valid copyright registrations. Indeed, the Court foreclosed any argument to the


         49
           Compare AF Holdings, LLC v. Olivas, 2014 WL 4782816, at *1 (D. Conn. 2014) (denying the defendant’s
counterclaim for copyright misuse because the plaintiff’s ownership of the copyrighted works was in question).
         50
              240 F. Supp. 3d 712 (N.D. Ohio 2017).
         51
              Id. at 720-21.
         52
              2005 WL 1027370 (M.D. Fla. 2005).
         53
              Id. at *11-12.
         54
           See id. (“In the event, [the plaintiff’s works] are found to be largely generic in nature, the only logical next
step would be to determine whether [the plaintiff] has used its limited rights to ‘obtain property protection … that
copyright law clearly does not confer.’ ”)



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contrary when it denied the Refinery’s motion for referral to the Register of Copyrights. “[T]he

predicate for a misuse defense is an attempt to use the copyright monopoly to control something

the monopoly does not protect.”55 Because EIG is not asserting rights beyond those granted in its

copyright registrations, the Refinery’s copyright misuse defense fails as a matter of law.

        Furthermore, the evidence that the Refinery relies on does not necessarily show that EIG

engaged in abusive litigation tactics. The parties dispute the number of copyright infringement

suits EIG has filed against its subscribers. Regardless, the fact that EIG has filed multiple suits

does not mean that it engaged in an abuse of process. Similar facts were alleged in Malibu Media

v. Doe, when the defendant offered the existence of multiple similar copyright infringement

lawsuits in support of a copyright misuse defense.56 The court did not find such evidence

persuasive, noting “[i]t is certainly true that [the plaintiff] has filed a very large number of

infringement suits in this district and in others. But that is what the holders of intellectual property

rights do when they are faced with mass infringement.”57 In addition, courts have concluded that

attempts to negotiate a settlement before filing a copyright infringement lawsuit are not evidence

of abuse of process.58

        Overall, the Court finds that the Refinery has failed to come forward with any evidence

that EIG misused its copyrights by attempting to extend its copyright monopoly to rights its

registrations do not protect. The cases the Refinery relies on in support of this defense all contain



        55
             Malibu Media, LLC v. Doe, 2014 WL 2581168, at *2 (N.D. Ill. 2014).
        56
             Id.
        57
             Id.
        58
           Purzel Video, 11 F. Supp. 3d at 1027; Malibu Media, LLC v. Doe 1, 2013 WL 5603275, at *3 (D. Md.
2013); Malibu Media, LLC v. Lee, 2013 WL 2252650, at *5-6 (D.N.J. 2013).



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evidence that the plaintiff was attempting to exert rights in works that were not protected by

copyright or owned by that plaintiff. Here, the court has foreclosed any argument the Refinery

may have regarding the validity of EIG’s copyrights. Therefore, the Court grants summary

judgment for EIG on the Refinery’s copyright misuse defense.

                 3.       Implied License

        EIG next seeks summary judgment on the Refinery’s affirmative defense that EIG’s claims

are barred, in whole or in part, by the doctrine of implied license. The Tenth Circuit has not yet

addressed implied licenses in the context of copyright infringement. However, several Circuit

Courts of Appeal have done so. These courts have held that for a party to establish an implied

license, a party must show that “(1) a person (the licensee) requests the creation of a work, (2) the

creator (the licensor) makes that particular work and delivers it to the licensee who requested it,

and (3) the licensor intends that the licensee-requestor copy and distribute [the] work.”59 Clearly,

these factors are not satisfied in this case because the undisputed facts show that EIG did not create

Oil Daily or Petroleum Intelligence Weekly at the Refinery’s request. Nonetheless, the courts do

not strictly require that all three factors be present for an implied license to exist.60 A license may

be implied from the conduct of the parties.61

        According to EIG, the undisputed facts demonstrate that it did not grant the Refinery an

implied license to copy and forward the publications. EIG claims the following facts support its


        59
            Kid Stuff Mktg., Inc. v. Creative Consumer Concepts, Inc., 223 F. Supp. 3d 1168, 1181 (D. Kan. 2016)
(citing I.A.E., Inc. v. Shaver, 74 F.3d 768, 776 (7th Cir. 1996)).
         60
            Id. at 1182 n.8 (stating that the absence of one of the three factors does not preclude the finding of an
implied license).
        61
            See id. at 1181-82 (holding that there was an implied license allowing the defendant to use copyrighted
characters); see also Jacob Maxwell, Inc. v. Veeck, 110 F.3d 749, 752 (11th Cir. 1997) (finding implied license where
copyright owner allowed the defendant to repeatedly play song despite no explicit agreement).



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argument: (1) the express terms of the subscription agreements between EIG and the Refinery

prohibited copying and distributing EIG’s publication; (2) EIG’s publications and emails

delivering these publications contain express copyright warnings and notices; (3) there is no

evidence of any communications between the Refinery and EIG allowing the Refinery to copy the

publications; (4) the Refinery’s own internal communications show that the Refinery knew that

EIG did not permit copying and distributing its copyrighted publications; and (5) EIG employees

directly informed the Refinery that copying and distributing the publications via email forwarding

was not permitted.

        The Refinery argues in response that there is a genuine issue of material fact as to whether

EIG granted the Refinery an implied license. The Refinery cites another case from this District,

Kid Stuff Marketing, Inc. v. Creative Consumer Concepts, Inc., in which Judge Lungstrum relied

on three factors to determine whether a licensor intended to grant an implied license.62 These

factors are:

        (1) whether the parties were engaged in a short-term discrete transaction as opposed
        to an ongoing relationship; (2) whether the creator utilized written contracts …
        providing that copyrighted materials could only be used with the creator’s future
        involvement or express permission; and (3) whether the creator’s conduct during
        the creation or delivery of the copyrighted material indicated that use of the material
        without the creator’s involvement or consent was permissible.63

The Refinery asserts that the Court cannot grant summary judgment on its affirmative defense

based on these three factors.

        Turning to the first factor—the nature of the parties’ relationship—the Court concludes

that this factor favors the Refinery. The parties were engaged in a long-term relationship,


        62
             223 F. Supp. 3d at 1182.
        63
             Id. at 1182 (quoting Asset Mktg. Sys., Inc. v. Gagnon, 542 F.3d 748, 756 (9th Cir. 2008)).



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beginning in 1982. When the Refinery received Oil Daily and Petroleum Intelligence Weekly in

print form, it would routinely route the publications to other executives at the Refinery to read.

When these publications became available electronically, the Refinery continued to do the same

by distributing them through email.

        The second factor—whether the licensor utilized written contracts containing copyright

limitations—is more complicated. According to the Refinery, the subscription agreements neither

stated the type of subscription the Refinery held nor prevented the Refinery from forwarding the

publications to other employees. The invoices EIG sent to renew the subscriptions from 2005 to

2007 only contained a general copyright notice stating that EIG’s written consent was necessary

to use the publication in any way. After 2007, the subscription invoices explicitly stated that “[t]he

subscription(s) for the publication(s) identified on the front of this Invoice is for the sole use and/or

access by the individual(s) or the employee(s) of the entity identified under the “Shipped to”

notation on front of this Invoice only (“Authorized User(s)”) and may not be shared electronically

or by any means now known throughout the universe or hereafter devised.” For Oil Daily, the

Refinery listed Galen Menard and NCRA64 in the “Shipped to” notation.                        For Petroleum

Intelligence Weekly, the Refinery listed either Kathy Swanson or Debbie Ratzloff and NCRA in

the “Shipped to” notation. It was not until 2013, that the invoice to renew the Oil Daily

subscription defined the term “Authorized User” as “the individual(s) expressly named on this

invoice under the “Shipped to” notation,” and stated that an “Authorized User can only be a living

individual and never a company, organization or any other entity.”                     The first Petroleum

Intelligence Weekly invoice containing this language was sent to the Refinery in 2015.


        64
             The Refinery was formerly known as National Cooperative Refinery Association or “NCRA.”



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       Viewed in the light most favorable to the Refinery, the subscription agreements are not

clear regarding what type of subscription the Refinery held and who had the right to access the

publications. Because the invoices seemingly allowed multiple employees under the entity listed

in the “Shipped to” notation to access the publication, a reasonable jury could find that the Refinery

believed that employees other than Menard could access the publications—especially considering

the past practice of routing the printed publications from executive to executive. However, the

contractual language in the 2013 Oil Daily invoice and 2015 Petroleum Intelligence Weekly

invoice clearly indicates that the Refinery had a single subscriber license and that the named

individual on the invoice was the only Refinery employee who could access the publication. Thus,

the Refinery could not have an implied license once the subscription provided for in these licenses

became effective.

       The third factor—whether the licensor’s conduct indicated that the use was permissible—

does not favor finding an implied license. The Refinery claims that EIG’s policies of allowing an

assistant to access and forward the publication to a supervisor and allowing a printed copy of the

publication to be placed in a library for anyone to read support this factor. But, the Refinery

acknowledges that neither of these facts were communicated to the Refinery before litigation.

“There must be some conduct or expression from which a license could be implied.”65 Because

the Refinery was not aware of these facts, a license can not be implied from them.

       Overall, the Court concludes that there is a genuine issue of material fact regarding whether

the Refinery had an implied license to forward the publications to a group of Refinery executives.

The Court recognizes that the three factors discussed above do not consider the Refinery’s internal


       65
            Kayne Anderson Capital Advisors, 2017 WL 363004, at *7.



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communications, which EIG asserts are conclusive evidence that the Refinery did not have an

implied license. But, these communications only relate to Oil Daily and not Petroleum Intelligence

Weekly. Furthermore, these communications do not support dismissal of this affirmative defense

for the entire period of the alleged infringement as a matter of law.

       The Court does, however, limit the Refinery’s use of this affirmative defense based on the

March 29, 2012, email Dent sent to Flickinger. In that email, Dent told her that the Refinery only

had a single user subscription for Oil Daily and that such subscription is “intended solely for the

designated named recipient and not anyone else or any entire organization or a group within it.”

He further stated that “[a] single user subscription cannot be shared by electronic means among

multiple readers by forwarding or posting on an intranet.” This language clearly explains to the

Refinery what type of subscription it had and that Oil Daily could not be forwarded to multiple

Refinery executives. Therefore, the Court concludes that the Refinery cannot claim that it had an

implied license after this date.

       The Court grants in part and denies in part EIG’s motion for summary judgment on the

Refinery’s implied license affirmative defense. The Refinery is only allowed to assert this defense

for the alleged infringement of Oil Daily prior to March 29, 2012. It cannot assert this defense for

any alleged infringing activity occurring after this date. The Refinery may also only assert this

defense for the alleged infringement of Petroleum Intelligence Weekly before June 15, 2015—the

date the 2015 invoice took effect.

               4.      Adequate Remedy at Law

       EIG seeks summary judgment on the Refinery’s affirmative defense that EIG has an

adequate remedy at law. In response, the Refinery argues that it plead this defense to avoid

waiving it because EIG seeks an injunction as well as damages.


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         In this District, an adequate remedy at law defense is not an affirmative defense.66 But, a

court will not necessarily strike it just because it has been mislabeled.67 Because an affirmative

defense might be deemed waived if not timely plead, “the cautious pleader is fully justified in

setting up as affirmative defenses anything that might possibly fall into that category, even though

that approach may lead to pleading matters as affirmative defenses that could have been set forth

in simple denials.”68 A court in this District will not strike this type of defense unless the moving

party has shown that it is prejudiced by the defendant’s assertion of it.69 Other courts have ruled

similarly.70

         Here, EIG has not demonstrated any prejudice. At most it has shown that the Court’s

failure to grant summary judgment on this issue will result in additional briefing by the parties

prior to trial. Therefore, the Court does not find it necessary to grant summary judgment solely

because EIG plead this denial as an affirmative defense.

         EIG also argues that the adequate remedy at law defense fails as a matter of law because it

is not a legal requirement that is applicable in a copyright infringement action. Section 502 of the



         66
            FTC v. Affiliate Strategies, Inc., 2010 WL 11470103, at *7 (D. Kan. 2010). EIG argues that this case is
inapposite because it involves alleged violations of the FTC Act and not the Copyright Act. Yet, the case EIG
repeatedly cites, Household Financial Servs., Inc. v. Northeastern Mortg. Inv. Corp., is from the Northern District of
Illinois and involves a contractual dispute. 2000 WL 816795, at *1 (N.D. Ill. 2000).
         67
              Affiliate Strategies, 2010 WL 11470103, at *7.
         68
              Id. (quoting Bobbitt v. Victorian House, Inc., 532 F. Supp. 734, 736 (N.D. Ill. 1982)).
         69
           Id. (citing Wilhelm v. TLC Lawn Care, Inc., 2008 WL 474265, at *2 (D. Kan. 2008) (“Without a showing
of prejudice, the Court gives leeway to defendant in affirmatively pleading theories which do not actually constitute
affirmative defenses.”)).
         70
           See Home Design Servs., Inc., v. Schroeder Const., 2012 WL 527202, at *2 (D. Colo. 2012) (“While the
court agrees that a number of Defendants’ ‘affirmative defenses’ are more accurately characterized as denials, the
Court does not find it necessary to grant summary judgment on this basis.”); Home Design Servs., Inc. v. Trumble,
2011 WL 843900, at *3 (D. Colo. 2011) (denying summary judgment when denials were mislabeled as affirmative
defenses).



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Copyright Act states that a court may “grant temporary and final injunctions on such terms as it

may deem reasonable to prevent or restrain infringement of a copyright.”71 The Tenth Circuit has

held that a copyright owner is entitled to a permanent injunction under this statute when the owner

“establishes past infringement and a substantial likelihood of infringement in the future.”72 EIG

interprets this holding to mean that these are the only elements a plaintiff is required to show to

obtain an injunction. The Court, however, is not persuaded that this is the case. Nothing in

Harolds Stores explicitly eliminates the requirement that the plaintiff show there is no adequate

remedy at law to obtain an injunction. Accordingly, the Court declines to grant summary judgment

on this defense.73

                    5.        Failure to State a Claim

         EIG asserts that it has sufficiently plead the requirements for copyright infringement, and

therefore the Refinery’s affirmative defense of failure to state a claim for which relief may be

granted must be dismissed. To establish copyright infringement, a plaintiff must prove: “(1)

ownership of a valid copyright, and (2) copying of constituent elements of the work that are

original.”74 EIG has satisfied both of these elements.

         EIG has shown that it owns federal copyright registrations for the Oil Daily and Petroleum

Intelligence Weekly publications at issue in this case. The Refinery asserts that there is a genuine



         71
              17 U.S.C. § 502(a).
         72
              Harolds Stores, Inc. v. Dillard Dept. Stores, Inc., 82 F.3d 1533, 1555 (10th Cir. 1996).
          73
             Harolds Stores is ambiguous regarding whether a copyright owner is required to show that it does not have
an adequate remedy at law to obtain an injunction. The Court need not decide this issue now, however, because there
appear to be issues of fact surrounding the other elements EIG must prove to obtain an injunction, i.e., whether there
is a substantial likelihood of future infringement.
         74
              Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991).



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issue of fact regarding this issue because it claims that these registrations are not valid and it has

filed a motion to refer that issue to the Register of Copyrights. The Court, however, recently

denied that motion, concluding that the Refinery did not satisfy its burden to show that EIG

knowingly included inaccurate information on its copyright applications.              Therefore, the

Refinery’s argument with respect to this element fails.

       EIG has also sufficiently plead the second element of infringement—copying of constituent

elements of the work that are original. EIG has asserted that the Refinery purchased subscriptions

to Oil Daily and Petroleum Intelligence Weekly and that the Refinery copied and distributed these

publications in violation of the subscription agreements. Therefore, the Court grants EIG summary

judgment on the Refinery’s affirmative defense of failure to state a claim upon which relief may

be granted.

               6.      Alleged Violation of Due Process

       The Refinery asserts that “Plaintiff’s [sic] claims for statutory damages are barred

inasmuch as such damages are wholly punitive in this instance and violate the due process

requirements of the Fourteenth Amendment and/or Fifth Amendment of the Constitution of the

United States of America.” EIG contends that it is entitled to summary judgment on this

affirmative defense because it is not a true “affirmative defense” and because the punitive nature

of a statutory damages award under the Copyright Act does not implicate the Due Process Clause.

       The Court agrees with EIG that the Refinery’s defense regarding statutory damages is not

a proper affirmative defense. Proof of statutory damages is not an element of a copyright




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infringement claim.75 Thus, this defense cannot defeat any portion of EIG’s direct infringement

claim and is simply a denial of EIG’s rights to damages. This District, however, does not strike a

denial that is improperly plead as an affirmative defense unless the defendant can show prejudice.76

Here, EIG has not demonstrated that it is prejudiced by the Refinery’s assertion of this defense.

Therefore, the Court will not grant summary judgment on this basis.

         EIG also argues that the Court should grant summary judgment because the Refinery’s

defense, as written, is based on the incorrect premise that the punitive nature of a statutory damages

award implicates the Due Process Clause. According to EIG, a statutory damages award may be

“wholly punitive” in nature and the imposition of such award is a proper application of the

Copyright Act. The Court agrees.

         The U.S. Supreme Court addressed the purpose of statutory damages awards under the

Copyright Act in F.W. Woolworth Co. v. Contemporary Arts, Inc.77 when it stated:

         The statutory rule, formulated after long experience, not merely compels restitution
         of profit and reparation for injury but also is designed to discourage wrongful
         conduct. The discretion of the court is wide enough to permit a resort to statutory
         damages for such purposes. Even for uninjurious and unprofitable invasions of
         copyright the court may, if it deems it just, impose a liability within statutory limits
         to sanction and vindicate the statutory policy.78

This case has subsequently been applied by the Supreme Court and various Circuit Courts of

Appeals to recognize that statutory damages include a punitive element.79 Thus, the fact that EIG


         75
            See id. (stating that for a plaintiff to prove copyright infringement, the plaintiff must show “(1) ownership
of a valid copyright, and (2) copying of the constituent elements of the work that are original”).
         76
              Affiliate Strategies, 2010 WL 11470103, at *7.
         77
              344 U.S. 228 (1952).
         78
              Id. at 233.
         79
            See, e.g., Feltner, 523 U.S. at 353 (“[A]n award of statutory damages [under § 504(c)] may serve purposes
traditionally associated with legal relief, such as compensation and punishment.”); Sony BMG Music Entm’t v.


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seeks statutory damages and that those damages include a punitive element does not automatically

implicate the Due Process Clause.

          The Refinery asserts that a statutory damages award in this case would be “wholly

punitive.” But this still does not implicate the due process requirements of the Fourteenth and

Fifth Amendments. According to the Supreme Court, a statutory damages award is proper “[e]ven

for uninjurious and unprofitable invasions of copyright.”80 And Circuit Courts have determined

that a statutory damages award is appropriate even when the copyright owner cannot show

evidence of actual damages or lost profits.81 For example, the Ninth Circuit stated that “[a] plaintiff

may recover statutory damages ‘whether or not there is adequate evidence of the actual damages

suffered by plaintiff or of the profits reaped by defendant.’ ”82 Thus, a statutory damages award

may properly be “wholly punitive” in nature.

          The Refinery contends that dismissal of this affirmative defense is premature because EIG

has not stated the amount of statutory damages it intends to seek and that excessive damage awards,

even those that are punitive in nature, may still violate due process. But, as EIG asserts, the

Refinery’s affirmative defense does not address an excessive statutory damages award. It only

claims a due process violation based on the punitive nature of a statutory damages award. Because


Tenenbaum, 660 F.3d 487, 514 (1st Cir. 2011) (stating that statutory damages under the Copyright Act “have both a
compensatory and punitive element.”); Fitzgerald Publ’g Co., Inc. v. Baylor Publ’g Co., 807 F.2d 1110, 1117 (2d Cir.
1986) (“Awards of statutory damages serve two purposes—compensatory and punitive.”).
          80
               F.W. Woolworth, 344 U.S. at 233.
          81
            See Lowry’s Reports, Inc. v. Legg Mason, Inc., 302 F. Supp. 2d 455, 459 (D. Md. 2004) (“[b]ecause
statutory damages are an alternative to actual damages, there has never been a requirement that statutory damages
must be strictly related to actual injury.”); L.A. News Serv. v. Reuters Television Int’l, Ltd., 149 F.3d 987, 996 (9th
Cir. 1998); Superior Form Builders, Inc. v. Dan Chase Taxidermy Supply Co., Inc., 74 F.3d 488, 496-97 (4th Cir.
1996) (upholding a statutory damages award despite the plaintiff’s inability to show actual damages or lost profits).
          82
               L.A. News Serv., 149 F.3d at 996 (quoting Harris v. Emus Records Corp., 734 F.2d 1329, 1335 (9th Cir.
1984)).



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this Court concludes that the punitive nature of a statutory damages award is a proper application

of the Copyright Act, the Refinery’s defense fails as a matter of law. The Court grants summary

judgment for EIG on this issue.

       7.      Conclusion

       The Court grants in part and denies in part EIG’s Motion for Partial Summary Judgment

(Doc. 100). The Court grants EIG’s motion with respect to the Refinery’s affirmative defenses of

mitigation of damages, copyright misuse, failure to state a claim upon which relief may be granted,

and the violation of the Due Process Clauses of the Fifth and Fourteenth Amendments. The Court

denies EIG’s motion regarding the Refinery’s adequate remedy at law defense. And finally, it

grants in part and denies in part the Refinery’s implied license affirmative defense. The Refinery

may assert the affirmative defense of implied license for all allegedly infringing conduct for Oil

Daily before March 29, 2012. The Refinery may assert the affirmative defense of implied license

for all allegedly infringing conduct for Petroleum Intelligence Weekly before June 15, 2015.

C.     Motion to Exclude Expert Testimony of Rosenblatt (Doc. 86)

       EIG moves to exclude the testimony of the Refinery’s expert, William Rosenblatt. The

Refinery produced the Expert Report of William Rosenblatt on January 23, 2017 (“Rosenblatt

Report”). The Rosenblatt Report contains three sections of analysis. In the first section, titled

“Summary of Opinions,” Rosenblatt opines that EIG did not take “substantive measures to mitigate

infringement of its copyrights.” In the second section, titled “EIG Has Chosen to Publish Content

in Ways Especially Amenable to Unauthorized Copying,” Rosenblatt summarizes EIG’s

publishing practices, including how it makes its publications available to subscribers. And in the

third section, titled “EIG Has Not Adopted Specific Measures to Mitigate Unauthorized Copying,”

Rosenblatt discusses available technology EIG could have implemented to prevent copyright


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infringement and opines that EIG “invested only minimal money and resources into tools and

techniques for mitigating copyright infringement.” EIG contends that neither Rosenblatt’s Report

nor Rosenblatt’s testimony should be permitted at trial.

        1.       Legal Standard

        Rule 702 of the Federal Rules of Evidence governs the admissibility of opinions based on

scientific, technical, or specialized knowledge. Rule 702 provides that a witness who is qualified

by knowledge, skill, experience, training, or education (called an “expert witness”) may testify in

the form of opinion or otherwise as to scientific, technical, or other specialized knowledge if such

testimony will assist the trier of fact to understand the evidence or to determine a fact issue, “if (1)

the testimony is based upon sufficient facts or data, (2) the testimony is the product of reliable

principles and methods, and (3) the witness has applied the principles and methods reliably to the

facts of the case.” A district court has broad discretion in deciding whether to admit expert

testimony.

        The proponent of expert testimony must show “ ‘a grounding in the methods and

procedures of science’ which must be based on actual knowledge and not ‘subjective belief or

unaccepted speculation.’ ”83 To determine whether an expert opinion is admissible, the Court

performs a two-step analysis. First, the Court must determine “if the expert’s proffered testimony

. . . has ‘a reliable basis in the knowledge and experience of his [or her] discipline.’ ”84 The Court

must then inquire into whether the proposed testimony is sufficiently “relevant to the task at



        83
           Mitchell v. Gencorp Inc., 165 F.3d 778, 780 (10th Cir. 1999) (quoting Daubert v. Merrell Dow Pharm.,
Inc., 509 U.S. 579, 592 (1993)).
         84
            Bitler v. A.O. Smith Corp., 400 F.3d 1227, 1232-33 (10th Cir. 2005) (quoting Daubert, 509 U.S. at 592);
see also Norris v. Baxter Healthcare Corp., 397 F.3d 878, 883-84 (10th Cir. 2005).



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hand.”85 An expert opinion “must be based on facts which enable [him] to express a reasonably

accurate conclusion as opposed to conjecture or speculation, . . . absolute certainty is not

required.”86

         Daubert sets forth a non-exhaustive list of four factors that the trial court may consider

when conducting its inquiry under Rule 702: (1) whether the theory used can be and has been

tested; (2) whether it has been subjected to peer review and publication; (3) the known or potential

rate of error; and (4) general acceptance in the scientific community.87 These factors may or may

not be pertinent, depending on the nature of a particular issue, the expert’s particular expertise,

and the subject of the expert’s testimony.88

         It is within the discretion of the trial court to determine how to perform its gatekeeping

function under Daubert.89 The most common method for fulfilling this function is a Daubert

hearing, although such a process is not specifically mandated.90 Here, neither party has indicated

that such a hearing is necessary, and after carefully reviewing the motion and exhibits, the Court

believes a hearing is not required in this case to render a decision.

         2.         Analysis

         EIG challenges the Rosenblatt Report and Rosenblatt’s testimony on multiple grounds. It

argues that (1) the Report and testimony are not relevant because EIG was not required to mitigate


         85
              Norris, 397 F.3d at 884.
         86
              Dodge v. Cotter Corp., 328 F.3d 1212, 1222 (10th Cir. 2003) (quotation omitted).
         87
              Daubert, 509 U.S. at 593-94.
         88
              Kuhmo Tire Co., Ltd. v. Carmichael, 526 U.s. 137, 153 (1999).
         89
              Goebel v. Denver & Rio Grande W. R.R. Co., 215 F.3d 1083, 1087 (10th Cir. 2000).
         90
            See United States v. Charley, 189 F.3d 1251, 1266 (10th Cir. 1999) (district court granted great latitude in
deciding whether to hold formal hearing), cert. denied, 528 U.S. 1098 (2000).



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its damages; (2) the Report and testimony are not based on reliable principles and standards; (3)

the Report and testimony consist of conclusory opinions; and (4) the Report and testimony will

not assist the trier of fact. The Court will only address EIG’s first argument, as it is dispositive of

the admissibility of the Rosenblatt Report and testimony.

        EIG argues that the Rosenblatt Report is based on the faulty hypothesis that the issue of

mitigation of copyright infringement is relevant to the Court’s determination of damages in this

case. EIG claims that its election of statutory damages invalidates the Refinery’s affirmative

defense that EIG failed to mitigate its damages. Thus, EIG argues that because the Rosenblatt

Report discusses EIG’s efforts to mitigate copyright infringement, the Report is not relevant to this

case.

        The Refinery argues in response that the Rosenblatt Report is relevant because the

Refinery’s failure to mitigate damages is one factor to consider in calculating a statutory damages

award. The Refinery’s argument is almost identical to the one it presented in response to EIG’s

motion for summary judgment on the Refinery’s failure to mitigate affirmative defense. Citing a

2001 case from the Southern District of New York, National Football League v. PrimeTime 24

Joint Venture,91 the Refinery asserts that when determining statutory damages, a jury may look at

a variety of factors, including the conduct and attitude of the parties. According to the Refinery,

several points in the Rosenblatt Report relate to EIG’s conduct and attitude, such as the value that

EIG places on its copyrights, EIG’s failure to mitigate damages, and EIG’s overall conduct and

attitude toward copyright protection.




        91
             131 F. Supp. 2d 458.



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        As discussed above, EIG’s election to pursue statutory damages invalidates the Refinery’s

failure to mitigate damages affirmative defense, and a plaintiff’s conduct is not relevant to

calculating statutory damages. In this District, the relevant considerations for calculating statutory

damages are (1) the expenses saved and profits gained by the defendant from the infringement; (2)

the plaintiff’s lost revenues because of the infringement; and (3) the defendant’s state of mind.92

The Refinery continually refers to the “conduct and attitude of the parties” as a factor to be

considered, but as discussed above, the single case it relies on setting forth this factor is not binding

on this Court and is outdated.

        The Rosenblatt Report focuses exclusively on EIG’s efforts to mitigate copyright

infringement, whether that be through its discussion of EIG’s publishing practices, the technology

available for publishers to prevent copyright infringement, or EIG’s investment in the available

technology.    EIG’s efforts to mitigate such infringement, however, are not relevant to the

calculation of statutory damages. Therefore, the Rosenblatt Report has no relevance to this case.

The Court grants EIG’s motion to exclude Rosenblatt’s Report and testimony at trial.



        IT IS THEREFORE ORDERED that the Refinery’s Motion for Partial Summary

Judgment (Doc. 52) is DENIED.

        IT IS FURTHER ORDERED that EIG’s Cross Motion for Partial Summary Judgment

(Doc. 67) is GRANTED.




        92
           Beginner Music, 2009 WL 2475186, at *3; Walden Music, Inc. v. C.H.W., Inc., 1996 WL 254654, at *5
(D. Kan. 1996).



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      IT IS FURTHER ORDERED that EIG’s Motion for Partial Summary Judgment to

Dismiss Defendant’s Affirmative Defenses (Doc. 100) is GRANTED IN PART AND DENIED

IN PART.

      IT IS FURTHER ORDERED that EIG’s Motion Challenging the Admissibility of Expert

Report and Testimony of William R. Rosenblatt (Doc. 86) is GRANTED.

      IT IS SO ORDERED.

      Dated this 14th day of March, 2018.




                                                   ERIC F. MELGREN
                                                   UNITED STATES DISTRICT JUDGE




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